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October 9, 2018                                                          FILE NO: 68026.6



Via Electronic Case Filing

Hon. Steven I. Locke, U.S.M.J.
United States District Court
  for the Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

Re:      Capricorn Management Systems, Inc. v. GEICO, et al.
         Case No. 2:15-cv-02926-DRH-SIL

Dear Judge Locke:

This firm represents defendant Government Employees Insurance Company (“GEICO”) in the
subject civil action. We write on behalf of GEICO and defendant Auto Injury Solutions, Inc.
(“AIS”) (together, “Defendants”) to request a two-week extension of the time for filing their
reply briefs and a five-page expansion of the page limit for one of the briefs.

Judge Hurley referred potentially dispositive motions to Your Honor by a docket order dated
June 7, 2018. Your Honor then entered a briefing schedule providing 6 weeks for opening and
opposition briefs and 4 weeks for reply briefs. Docket no. 97. Under the Bundle Rule, all of the
motion papers are currently due to be e-filed with the Court on Tuesday, October 23rd.

The opposition papers served by plaintiff Capricorn Management Systems, Inc. (“Capricorn”)
include 9 new declarations, 198 statements of allegedly material facts (more than double the
number of undisputed facts stated in Defendants’ motion), and more than 200 exhibits—a total
of over 3,300 pages plainly intended to manufacture a dispute of fact through sheer volume if
not genuine substance. Most of the exhibits selected by Capricorn are Defendants’ confidential
documents produced in discovery and so will require Defendants to prepare a lengthy Motion to
Seal in addition to the reply briefs themselves.

To effectively analyze and respond to Capricorn’s voluminous opposition, and to prepare the
accompanying Motion to Seal, Defendants respectfully request that the deadline for filing their
reply briefs be extended by two weeks through Tuesday, November 6th, and that the page limit
for Defendants’ reply in connection with their Motion for Summary Judgment only be extended
by 5 pages to a total of 15 pages.


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Counsel met and conferred by telephone regarding this request on Monday morning and again on
Tuesday afternoon this week. Despite the fact that all counsel have routinely extended to each
other the professional courtesy of short extensions throughout this litigation, Capricorn opposes
this request.

For the reasons stated above, Defendants respectfully ask that Your Honor grant this request for
short extensions of time and length.

Thank you for your continuing consideration in this matter.

Respectfully,
      /s/ Joseph J. Saltarelli
Joseph J. Saltarelli

cc:     Counsel of Record (via CM/ECF)




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